                         UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: FRANZ GEORGE PAUL                              : CHAPTER 13
          Debtor(s)                                   :
                                                      :
         CHARLES J. DEHART, III                       :
         STANDING CHAPTER 13 TRUSTEE                  :
            Movant                                    :
                                                      :
               vs.                                    :
                                                      :
         FRANZ GEORGE PAUL                            :
            Respondent(s)                             : CASE NO. 5-19-bk-04257


               TRUSTEE’S OBJECTION TO AMENDED CHAPTER 13 PLAN

               AND NOW, this 17th day of July, 2020, comes Charles J. DeHart, III, Standing
Chapter 13 Trustee, and objects to the confirmation of the above-referenced debtor(s)’ plan for the
following reason(s):

               1. The Trustee avers that debtor(s)’ plan is not feasible based upon the following:

                     a. The plan is underfunded relative to claims to be paid.
                     b. Plan ambiguous – Term. More specifically, when you do the
                        math, the base amount is for 80 months, and consequently, the
                        plan is not funded to make conduit mortgage payments for
                        84 months.

               WHEREFORE, Trustee alleges and avers that debtor(s) plan is nonconfirmable and
therefore Trustee prays that this Honorable Court will:

                     a. Deny confirmation of debtor(s) plan.
                     b. Dismiss or convert debtor(s) case.
                     c. Provide such other relief as is equitable and just.

                                                  Respectfully submitted:

                                                  Charles J. DeHart, III
                                                  Standing Chapter 13 Trustee
                                                  8125 Adams Drive, Suite A
                                                  Hummelstown, PA 17036
                                                  (717) 566-6097

                                   BY:            /s/Agatha R. McHale
                                                  Attorney for Trustee




Case 5:19-bk-04257-RNO          Doc 40 Filed 07/17/20 Entered 07/17/20 11:17:17               Desc
                                Main Document    Page 1 of 2
                                  CERTIFICATE OF SERVICE

               AND NOW, this 17th day of July, 2020, I hereby certify that I have served the
within Objection by electronically notifying parties or by depositing a true and correct copy of the
same in the United States Mail at Harrisburg, Pennsylvania, postage prepaid, first class mail,
addressed to the following:

Patrick Best, Esquire
18 N. 8th Street
Stroudsburg, PA 18360


                                                  /s/Deborah A. Behney
                                                  Office of Charles J. DeHart, III
                                                  Standing Chapter 13 Trustee




Case 5:19-bk-04257-RNO         Doc 40 Filed 07/17/20 Entered 07/17/20 11:17:17                 Desc
                               Main Document    Page 2 of 2
